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 1                             UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
 2                                   EASTERN DIVISION
 3
          UNITED STATES OF AMERICA,                )
 4                                                 )
                            Plaintiff,             )
 5                                                 )
                     vs.                           )   No. 19 CR 869
 6                                                 )
          THOMAS OSADZINSKI,                       )   Chicago, Illinois
 7                                                 )   September 17, 2021
                            Defendant.             )   9:29 a.m.
 8
 9                      TRANSCRIPT OF VIDEOCONFERENCE PROCEEDINGS
10                      BEFORE THE HONORABLE ROBERT W. GETTLEMAN
11
         APPEARANCES:
12
         (Via Videoconference)
13
14       For the Plaintiff:             HON. JOHN R. LAUSCH, JR.
                                        United States Attorney
15                                      BY: MR. BARRY JONAS
                                             MS. MELODY WELLS
16                                      Assistant United States Attorneys
                                        219 South Dearborn Street, Fifth Floor
17                                      Chicago, Illinois 60604
                                        (312) 353-5300
18
19                                      MS. ALEXANDRA HUGHES
                                        Trial Attorney, Department of Justice
20                                      National Security Division
                                        950 Pennsylvania Avenue, NW
21                                      Washington, D.C. 20530
22
23       Official Court Reporter: NANCY L. BISTANY, CSR, RPR, FCRR
                                  219 South Dearborn Street, Room 1706
24                                Chicago, Illinois 60604
                                  (312) 435-7626
25                                nancy_bistany@ilnd.uscourts.gov
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 1       APPEARANCES: (Continued)
 2       (Via Videoconference)
 3
         For the Defendant:             GREENBERG TRIAL LAWYERS
 4                                      BY: MR. STEVEN GREENBERG
                                        53 West Jackson Boulevard, Suite 1260
 5                                      Chicago, Illinois 60604
                                        (312) 879-9500
 6
 7                                      LAW OFFICE OF JOSHUA G. HERMAN
                                        BY: MR. JOSHUA G. HERMAN
 8                                      53 West Jackson Boulevard, Suite 404
                                        Chicago, Illinois 60604
 9                                      (312) 909-0434
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 1             (Proceedings heard via videoconference:)
 2                   THE CLERK: 19 CR 869, USA versus Thomas Osadzinski.
 3                   If government counsel can please identify themselves
 4       and defense counsel and the defendant.
 5                   MR. JONAS: Good morning, Your Honor.
 6                   This is Barry Jonas of the United States.
 7                   MS. WELLS: Good morning, Your Honor.
 8                   Melody Wells for the United States.
 9                   MS. HUGHES: Good morning, Your Honor.
10                   Alexandra Hughes for the United States.
11                   MR. HERMAN: Good morning, Judge.
12                   It's Josh Herman on behalf of Thomas Osadzinski, who
13       is present.
14                   MR. GREENBERG: Good morning, Your Honor.
15                   THE DEFENDANT: Defendant present, Thomas Osadzinski.
16                   MR. GREENBERG: Good morning, Your Honor.
17                   Steve Greenberg on behalf of the defendant, also.
18                   THE COURT: All right, folks. This is here for, I
19       guess, an initial pretrial conference. I know there are three
20       defense motions that I've seen, and the government was going to
21       file a motion today, I guess, which I haven't seen and I won't
22       be able to see until Monday. But I assume the government wants
23       to respond to -- well, there's one to file documents under
24       seal.
25                   Is there any disagreement about that, Mr. Jonas?
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 1                   MR. JONAS: No, Your Honor.
 2                   THE COURT: Okay. So we'll grant that. And that's
 3       document 108.
 4                   And then there's a defense motion in limine regarding
 5       the government's exhibit list and the defense motion in limine,
 6       which is 107, and defense motion in limine regarding
 7       prosecution witness, Mr. Zelin, which is document 104.
 8                   So how quickly can you respond to those, Mr. Jonas?
 9       I don't want to kill your weekend totally but --
10                   MR. JONAS: Your Honor, with regard to the motion on
11       the exhibit list, I think it's a little premature at the
12       moment, because we haven't finalized our exhibits to include
13       some of the exhibits that they're objecting to.
14                   So because of that, I would ask if we could have
15       until next Friday to file a response.
16                   THE COURT: Let me get my calendar out here.
17                   MR. JONAS: I also think, Judge -- and we're happy to
18       file a response. I think this is one of those issues where you
19       may not be able to rule until we're actually at trial and see
20       how the evidence is presented. But, again, we're happy to file
21       a written response if we could just have a week to do so.
22                   THE COURT: Okay.
23                   MR. GREENBERG: But if we wait until trial, we --
24       this is Greenberg, by the way.
25                   If we wait until trial, then there's the issue of
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 1       opening statements on some of the exhibits and talking about
 2       the content.
 3                   Judge, in large part, our objection relates to
 4       videos, which we're willing to stipulate are, in fact, ISIS
 5       videos.
 6                   MR. JONAS: Judge, it goes --
 7                   THE COURT: You don't want the videos -- you don't
 8       want the videos shown to the jury?
 9                   MR. GREENBERG: Right. We don't believe there's any
10       reason that the jury needs to actually see the videos, because
11       the content of the videos is irrelevant to the charged offense
12       and extraordinarily, I'm sure as the Court could conclude,
13       prejudicial.
14                   MR. JONAS: Your Honor, just real quick. And, again,
15       we'll file this in written response.
16                   The defendant himself sent some of these videos to
17       OCE 2 and told OCE 2 that he did the voiceover on at least one,
18       and I think he said he helped him -- I'm paraphrasing, of
19       course -- create the other two.
20                   And I think because the defendant put it out there
21       that the jury is entitled to know what is it the defendant
22       claimed he did. We are not planning on showing any unduly
23       violent scenes; but, again, we haven't made final cuts and
24       haven't a final decision on which exhibits we'd like to play.
25                   So I think that it should -- it's premature to have
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 1       this argument at this time. And I respect Mr. Greenberg's
 2       point about opening statements, and I think we can probably
 3       have a further discussion on this after we file our response.
 4                   THE COURT: All right. I'll give you to the 24th to
 5       file your response. I think there's a serious 403 issue that
 6       runs throughout this entire case that we have to pay careful
 7       attention to. I think defense counsel put it pretty well, that
 8       he's not accused of committing any violent acts. He's accused
 9       of support for the propagation of communications that include
10       violent acts by others. It's a strange type of position or
11       unusual type of position to be in.
12                   So, I mean, I'll pay careful attention to that. And
13       I think that, you know, the government should be careful not to
14       overdo it to the point where -- like the picture of the World
15       Trade Center, right now given the fact that -- this is just an
16       initial reaction; I haven't made any decisions, obviously --
17       but given the fact that we have just observed the 20th
18       anniversary of 9/11, that type of thing might be overly
19       inflammatory at this particular point, the trial coming so
20       close to that observance.
21                   MR. JONAS: And --
22                   THE COURT: I'm just asking you to keep all those
23       type -- and I don't think I even have to --
24                   MR. JONAS: Your Honor, just -- just -- we are very,
25       very sensitive to the issue. We really are. And that's why
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 1       I'm saying this is premature. What was -- because Your Honor
 2       asked us for a preliminary witness list a little bit early on
 3       in the proceedings, we put on there just sort of our initial
 4       cut of what we were looking at. And our plan is to reduce
 5       that, and also we may add some. I haven't -- I don't want to
 6       limit ourselves to just the reduction, but that's why I think
 7       this conversation is a little bit premature.
 8                   THE COURT: All right. Well, does the same thing
 9       apply to Mr. Zelin?
10                   MR. JONAS: So Mr. Zelin, I'll let Ms. Hughes respond
11       to that since he will be her witness, and she's already started
12       drafting a response.
13                   MS. HUGHES: Your Honor, we would be prepared to file
14       our responses on Monday, if that's amenable to the Court.
15                   THE COURT: That's fine, although -- okay. I mean,
16       some of the same issues are involved, obviously, with that as
17       well, but I want to be able to -- I want to be able to make a
18       decision on this, obviously, as far in advance of the trial
19       date as we can.
20                   So if I don't get the response by the 24th, then I'm
21       not going to really be able to talk to you until -- since
22       Mr. Osadzinski is in custody, it has to be one of our days --
23       our assigned days to actually have a conversation about this.
24                   So it will have to be on the 28th in the early
25       afternoon when we -- when our next day will be.
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 1                   So if you want to reply, it doesn't give you any time
 2       to really reply to the exhibit matter, and maybe you should
 3       have a conversation about it. Maybe you could work something
 4       out and at least agree to some of those, but I'll give you a
 5       chance to -- if Ms. Hughes files her response on the 20th, do
 6       you want to reply -- if you could reply before the end of that
 7       week, that would be helpful for me.
 8                   MR. HERMAN: Judge, we can do that. If we could have
 9       a reply by the 24th, we could do that.
10                   And, Your Honor, regarding the exhibits, we will have
11       ongoing conversations. We have had some conversations with the
12       government, and we realize that it could be premature in filing
13       the motion, but we wanted to put these issues before the Court
14       to articulate what you observed before about the unique
15       aspect -- the unique issues in this particular case where we're
16       not dealing with somebody who is trying to go overseas to fight
17       himself.
18                   And the government has provided us with an additional
19       exhibit list which expands on the prior one and has some
20       additional exhibits that I think we would argue fall in the
21       same category that we can speak with the government about
22       either today or on Monday.
23                   THE COURT: All right. I'll just make an
24       observation -- and this is not binding or anything close to
25       it -- that I think some description of what ISIS is and what
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 1       they do, it would be appropriate to a jury. I think, you know,
 2       not everybody reads the New York Times every day, and so some
 3       description of ISIS I think is appropriate. It's a fine line
 4       where that could be crossed where it becomes more prejudicial
 5       than probative, and I think that we have to just be very
 6       careful about that, and I may have to make some tough decisions
 7       about that.
 8                   So, you know, the more we just recognize that
 9       difficulty, the easier it will be for me to make those
10       decisions.
11                   Now, Mr. Jonas, you're going to be filing a motion
12       today in camera; is that right?
13                   MR. JONAS: Your Honor, we are hoping that we can
14       file an ex parte classified motion today, but we've been
15       waiting for the FBI to give us a classified declaration.
16                   We were told yesterday -- and this declaration is
17       signed by one of the -- or the assistant director of the FBI.
18       We were told yesterday it is with him. And as soon as we get
19       it, we will file this motion; but the timing is out of our
20       hands at the moment.
21                   And, Your Honor, we recognize this motion sort of
22       tees up the classified status conference on Monday, and we're
23       putting as much pressure as we can on the FBI to get this to us
24       as soon as possible. We've been in constant discussions with
25       them for several weeks now on this.
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 1                    THE COURT: Well, please remember that I can't read
 2       that motion remotely.
 3                    MR. JONAS: Right.
 4                    THE COURT: So I'll be in Monday and Tuesday of next
 5       week. So Monday would be the first time I would be able to
 6       look at it anyway.
 7                    And then just give me a brief description of what the
 8       procedure would be. I know we're going to have a closed
 9       session. We're going to do it in the courtroom on Monday at --
10       I'm sorry, at 1:30.
11                    Let me give you a time on the 28th, too, since I just
12       set a hearing for these other things on that. So we'll make
13       that at 1:30 as well.
14                    And I don't think that has to be -- this is just on
15       the defense motions. I don't think that has to -- that's not
16       going to be closed or anything like that.
17                    MR. GREENBERG: Your Honor?
18                    THE COURT: Yes.
19                    MR. GREENBERG: Your Honor, this is Greenberg.
20                    Is that -- on the 28th, are you intending for that to
21       be remote or in person? I have a hearing involving a lot of
22       witnesses at 26th Street that's set for 1:00 that day. I'm
23       guessing it won't go at 1:00, but hearings there, like hearings
24       in the federal building, are sort of difficult to come by. And
25       you have to get all the people pre-approved -- you know, on a
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 1       list to get in the building and so forth.
 2                    So is there any way we could do it maybe a little bit
 3       earlier, whether it's in person or remote?
 4                    THE COURT: Well, I have a plea at -- I have a guilty
 5       plea at 11:00 that probably will take about a half an hour or
 6       so.
 7                    Claire is telling me we don't have the courtroom on
 8       the 28th anyway, so it will be remote.
 9                    MR. GREENBERG: Could we just -- could we do it at
10       12:30 just --
11                    THE COURT: Yes, we could do it at 12:30.
12                    MR. GREENBERG: Thank you.
13                    THE COURT: Why don't we do it at 12:00. I think
14       that would be easier for me.
15                    MR. GREENBERG: Okay.
16                    THE COURT: And we'll do it by video unless you want
17       to do it by phone. I mean, it's just -- I'm going to have to
18       be ruling on the --
19                    MR. GREENBERG: Video is fine with me, Judge. I can
20       do video that day.
21                    THE COURT: All right. Well, we'll do it by -- we'll
22       do it from the office then, not from the courtroom.
23                    Well, I'm concerned about the government's ex parte
24       motion, because I'm not going to have a lot of time to look at
25       it.
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 1                    MR. JONAS: Your Honor, could I make a suggestion
 2       then? And I -- is it possible then to move the status -- the
 3       classified status to Tuesday then to give you a little more
 4       time to review?
 5                    THE COURT: Tuesday is not one of our days.
 6                    MR. JONAS: Or another day that week.
 7                    THE COURT: It will be really tough.
 8                    MR. GREENBERG: Mr. Jonas --
 9                    THE COURT: Let's leave it for Tuesday. And if you
10       can get it to me before then, fine. If you can't get it to me,
11       you can tell me when you're going to get it to me. All right?
12                    MR. JONAS: That's fine, Judge.
13                    MR. GREENBERG: Judge?
14                    THE COURT: Yes.
15                    MR. GREENBERG: I had a -- this is Greenberg. I have
16       a suggestion, which if they would like to submit a draft,
17       subject to getting a finalized copy and if that will make it
18       easier for everyone, because we know that Your Honor, if
19       there's changes in the final copy, won't consider the matters
20       in the draft, that's okay.
21                    THE COURT: How does that sound to you?
22                    MR. JONAS: That's fine, Judge. We can give you a
23       draft of the motion and a draft of the attached declaration.
24       We can get it to Claire this afternoon so that Your Honor has
25       it first thing Monday morning and then just substitute a signed
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 1       copy once we get it.
 2                    THE COURT: That's a great idea, Mr. Greenberg.
 3       Thank you for that. And that's ex parte --
 4                    MR. GREENBERG: As you'll learn through the course of
 5       this case, Judge, I'm full of great ideas.
 6                    THE COURT: Well --
 7                    MR. JONAS: Yes, Judge, that will be ex parte
 8       classified.
 9                    THE COURT: Okay.
10                    MR. JONAS: There will be an accompanied unclassified
11       motion that we'll file on the docket as well.
12                    THE COURT: Okay. So help me here, because I'm sort
13       of learning my way through this process as we go along, and I
14       think the lawyers involved here are a lot -- are ahead of me on
15       all of this.
16                    Once I get that and we have that closed hearing, does
17       that -- that does not include defense counsel; is that correct?
18                    MR. JONAS: No, for this -- for this CIPA II status
19       conference, defense counsel can be there. They just can't see
20       the actual motion -- the classified version of the motion and
21       the declaration. Then --
22                    THE COURT: They'll have, like, a redacted copy? Is
23       that it or something else?
24                    MR. JONAS: We weren't planning on giving a redacted
25       copy. If Your Honor orders one, we can do that, but that
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 1       wasn't the initial plan.
 2                    But largely, Your Honor, what this addresses -- and
 3       Mr. Herman, I know, is familiar with where we're going on
 4       this -- is for the OCEs and CHS, when they testify, there's
 5       certain protection -- protective measures that we're going to
 6       ask for. And that's really largely what the declaration sets
 7       forth, what those measures are and why -- why they're needed.
 8                    The unclassified motion also sets forth the measures.
 9       And what part of those measures includes a limitation on
10       cross-examination regarding the background on the OCEs and the
11       background of the FBI's undercover programs. And what we would
12       like to discuss in this proceeding is where we think the
13       defense should not question the OCEs and CHS on that's going to
14       just start going into a classified arena.
15                    So I think that they need to know where those lines
16       are, and that's why we're asking for the status conference.
17       There's a couple other items that go along with their testimony
18       that are a little more unique I don't want to go into here but
19       that we'll address on Monday as well.
20                    The unclassified -- Judge, the unclassified motion
21       lays out some of these parameters. So that's something the
22       defense will see in terms of some of the protective measures
23       we're asking for.
24                    MR. HERMAN: Judge, if I may.
25                    We would appreciate a redacted version of the
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 1       government's pleading. I think that these issues are -- it
 2       would help the defense to know where the lines are, what the
 3       issues are, and to the extent we can and do have arguments that
 4       there's an implication of Sixth Amendment cross-examination
 5       issues and fair trial issues, that we'd be better equipped to
 6       address those in the hearing on Monday or during the course of
 7       the trial.
 8                    I just -- we are flying blind here not knowing
 9       anything other than what Mr. Jonas said regarding these
10       specific topics and a couple of issues that I can't talk about
11       on this -- in this forum, but if we could have more
12       information, that would be helpful.
13                    MR. JONAS: Your Honor, that's fine. I think --
14       honestly, I think the declaration -- the FBI declaration, a
15       redacted version may look like Swiss cheese, but we'll get them
16       what we can.
17                    The classified version of the motion is largely the
18       unclass motion that we're going to file with references to the
19       declaration.
20                    So we will happily give him a redacted version. I'm
21       just not sure it's going to add a lot more to it, but at least
22       it will provide them some information.
23                    THE COURT: Well, I think it's a reasonable request,
24       and I think it's a reasonable response to the request at this
25       point since I haven't seen any of this stuff.
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 1                    Okay. Now, as far as preparing for the trial
 2       itself -- I'm looking at my notes here -- we do have a special
 3       panel, as you know, that we've ordered. Maybe we don't need it
 4       because you tell me it's not going to be quite as long as we
 5       had originally -- I originally thought it might be, but we've
 6       had 70 people, or maybe more than that, actually respond to our
 7       request that they would be available for a longer trial.
 8                    So we're starting off with a fairly large -- a larger
 9       group than I had anticipated of potential jurors. Claire is
10       telling me we have over 80, so that's nice.
11                    So, you know, we're going to be -- we're going to
12       have to pick this jury -- I can't even remember now. Do we
13       have the jury instructions and the voir dire and all that?
14       Have we done that yet?
15                    MR. JONAS: Yes, Judge, those were filed several
16       weeks ago.
17                    THE COURT: Okay. Good. I don't have the entire
18       file at home with me here today, but I will have it on Monday.
19       If I have any questions about that, we'll do it then.
20                    So the way they've been doing this is, they give the
21       questionnaire -- we'll probably bring in about 52 people in the
22       venire. I think that should give us enough leeway that we'll
23       be able to pick a jury here.
24                    And the way I pick the -- I'm going to try to adhere
25       to my usual jury selection process, so I might as well go
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 1       through it with you while we're talking about it right now.
 2                    My -- the way I have picked juries now for the last
 3       27 years is I go through the entire panel. We usually call
 4       them alphabetically. I go through the entire panel, and I
 5       would usually put 14 people in the jury box and have them stand
 6       up and answer the questions and then do any follow-ups with
 7       them at sidebar that I thought was appropriate or that any
 8       lawyer asked me to.
 9                    And at that point, the lawyers could ask the jurors
10       questions themselves, and then I would either rule -- if there
11       was a motion, I would rule either then or before we adjourned
12       but not -- any motions for cause should not be made in front of
13       the jurors. So we're going to have -- we're going to have to
14       figure this out.
15                    So the way they're doing it now is instead of orally
16       answering the questions the way we used to do it, they've been
17       filling out the voir dire form in written form when they come
18       in to do their tests before the actual jury selection begins, a
19       couple days before. So you will -- all the counsel will have
20       copies of the written responses to the voir dire questions for
21       each of the potential jurors.
22                    You will be directed -- you are directed not to do
23       any type of internet research on the panel, no social media, no
24       Googling or anything like that. And so in a way you may
25       actually know more about the people on the panel in this method
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 1       than you did -- than you would in a regular -- before we
 2       started doing it this way. I never had jurors fill out written
 3       questionnaires before this.
 4                    So then they'll call them in. They'll all be in one
 5       of the courtrooms or maybe two courtrooms, because we want to
 6       keep them socially distanced. And, of course, they'll all have
 7       tested negative at that point for COVID. So they'll be brought
 8       into our courtroom 17 at a time.
 9                    And then I will ask -- if I have any follow-up
10       questions based on their answers to the voir dire questions
11       that they filled out, I will ask them to step over to sidebar.
12       I haven't done this yet. This will be my first time doing it
13       this way. They'll step over to sidebar, and they'll have an
14       iPad there, and they'll be able to answer the questions
15       standing there. Usually they're surrounded by lawyers and my
16       law clerks, but everybody will basically stay where they are.
17       Counsel will stay at counsel table. I'll stay on the bench.
18       And they can answer any questions that we have in that way.
19                    You will be able, I am told, to make any for-cause
20       objections without the juror hearing but that only I would
21       hear, but we'll probably -- we may just wait until each group
22       of 17 is done before we do that.
23                    And then we take -- after going through the entire
24       panel -- let's say we have 52. The magic number is 32. That
25       would be 14 people, 12 jurors and 2 alternates. And the
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 1       government -- and the defense gets 10 plus 1, and the
 2       government gets 6 plus 1. So if you add all those up, it comes
 3       to 32. So if we had 52, that would be 20 people more than we
 4       need.
 5                    So let's just say -- and, again, these are
 6       prescreened people. These are people who already said that
 7       they're available during this period, so we don't have a lot of
 8       that type of conflict, at least theoretically.
 9                    So what I like to do is waive the rule that says you
10       do 10 and then 1 for the alternate, so that I can give each
11       side as many extra strikes based on the 6-to-10 ratio that I
12       can.
13                    So let's just say that we were to strike 10 of those
14       people and have 42 left, that would mean we have 10 -- we have
15       10 extra strikes. I would give the defense 6. We would have
16       10 extra people, actually. I would give the defense 6 extra
17       strikes and the government 4 extra strikes.
18                    So that's how I've been doing it now for years, and
19       it basically means that theoretically the first person to be
20       called to answer questions would have the same theoretical
21       chance to be on the jury as the last person to be called, and
22       I'm able to give extra strikes that way to both sides.
23                    Is that agreeable to everybody?
24                    MR. JONAS: Yes, Judge.
25                    MR. GREENBERG: Judge, that's --
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 1                    THE COURT: I'm sorry?
 2                    MR. GREENBERG: That's agreeable to the defense, with
 3       one caveat.
 4                    This is the second case recently where a judge has
 5       told me that we're not to do an internet search of the jurors,
 6       and I think that runs contrary to the purpose of voir dire,
 7       which is to learn information about the jurors. And I'm not
 8       sure why -- why we're being told we can't do it if we --
 9       certainly we're not going to friend them on Facebook or
10       communicate with them in any way, but you can learn information
11       about people. And the information you're learning is in the
12       public record.
13                    So I'm not sure why the prohibition on doing that.
14                    THE COURT: It's to give the assurance to the -- you
15       know, we always tell jurors, we're not looking into your
16       personal background. We're not trying to pry into your
17       personal life. We just want to make sure you can be fair and
18       impartial. And that's what the voir dire questions are meant
19       to do.
20                    If they believe that you've been doing research --
21       you know, normally you don't know who the panel is going to be
22       until they walk into the room. Here you're going to know
23       that --
24                    MR. GREENBERG: Right.
25                    THE COURT: -- a week in advance.
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 1                    And if jurors thought that lawyers, the government,
 2       the FBI, who knows who, were, you know, doing that type of
 3       research on them, they might be a lot more reluctant to serve
 4       than just being able to answer the questions. That's why we
 5       have voir dire questions. That's the notion behind that.
 6                    I hear what you're saying, but we've never allowed
 7       the parties to a jury trial to know who the panel is going to
 8       be until they're called into the courtroom that day, which is
 9       random, totally random.
10                    So that's -- we're trying to follow that tradition,
11       if you will, and to assure jurors that you're not going, you
12       know, looking into their personal things.
13                    And once they are on the jury, there's nothing wrong
14       with doing that, but to do that to the entire panel I think
15       might cause more problems --
16                    MR. GREENBERG: Your Honor, once they're on the --
17                    THE COURT: -- that we can avoid.
18                    MR. GREENBERG: Once they're on the jury, there's no
19       point in doing it. And there's a number of -- you know, when
20       they come in, for instance, in state court juries and we get
21       the little cards, we immediately start -- someone on the
22       defense team will immediately start Googling the people just to
23       see what's up. You don't have -- admittedly, here you have
24       more time, but the jurors don't necessarily know that you're
25       doing that.
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 1                    There's a number of cases where they have discussed
 2       doing that, so we may seek to file something. There are not
 3       really many federal cases, but there's a number of state cases,
 4       and I just want to flag that for the Court.
 5                    THE COURT: But, no, I think that -- I think it's an
 6       interesting issue. And as I say, this is my first jury trial
 7       since the pandemic started. And I'm following the procedure
 8       that I think most of my colleagues have been following.
 9                    I will -- I will make some inquires myself. I don't
10       know if the government has a position on this or not.
11                    MR. JONAS: Your Honor, we would object to internet
12       research for the very reasons that Your Honor pointed out.
13                    THE COURT: All right. Well, let me ask some of my
14       colleagues how they've been doing it. I'm just following the
15       procedure that I understand has been used in our court.
16                    But, Mr. Greenberg, feel free to file anything you
17       think you should file on this subject. It's an interesting
18       subject, and I appreciate the point you're making. It's
19       just -- it's a new issue for me, so I'll take a look at that.
20                    MR. JONAS: Can I ask two questions and one
21       observation, Judge?
22                    I've done -- this will be my third pandemic era trial
23       and the jury selection process. By having the potential juror
24       go up to the sidebar and read the question on an iPad is so
25       much more efficient than the way it used to be. It moves jury
     Case: 1:19-cr-00869 Document #: 211 Filed: 01/12/23 Page 23 of 39 PageID #:3740
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 1       selection along much quicker than having all parties get up,
 2       walk to sidebar, and go back. Just an observation.
 3                    Two questions, Judge. One, I think we've told you,
 4       we anticipate this to be about a two-week trial; and depending
 5       on the defense, maybe it spills into a third week. I don't
 6       know. But I think the government will rest within two weeks.
 7       But given just the COVID era, would it be smart having a third
 8       alternate?
 9                    THE COURT: How does the defense feel about that?
10       We'd have to build out the jury box.
11                    MR. GREENBERG: Josh, you're going to have to speak
12       to that, because I cut out for a minute.
13                    MR. HERMAN: There may be -- there may be some
14       additional concerns that Mr. Greenberg and I need to discuss
15       off-line.
16                    I think it's a decent idea. My initial instinct is
17       that we would agree. I would like to take a poll of colleagues
18       to see what's going on in other trials. I know there are at
19       least two trials going on right now, three criminal trials, I
20       believe.
21                    THE COURT: Yes. Well, you know, that's not a bad
22       idea, actually, Mr. Jonas. And now that I think about it,
23       they're not in the jury box, so we don't have to build out the
24       jury box. They're spread around the courtroom anyway. So
25       putting one more in there probably wouldn't be a bad idea, just
     Case: 1:19-cr-00869 Document #: 211 Filed: 01/12/23 Page 24 of 39 PageID #:3741
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 1       in case.
 2                    MR. JONAS: Yeah, I just -- you know, I've heard --
 3       and this is just anecdotally -- in other districts where you
 4       see reports in trials that are stopped in the middle because a
 5       juror comes in and says, "I had exposure," and then that just
 6       puts -- stops the trial in its tracks.
 7                    MR. HERMAN: In fairness, though, if one juror has
 8       exposure, depending on when that exposure was, it could kick
 9       out everybody in the room.
10                    THE COURT: I know.
11                    MR. JONAS: Understood. Understood.
12                    THE COURT: I know. We have to live with the world
13       we have at the moment.
14                    MR. JONAS: Yeah. One other question on the jury
15       selection. I want to make sure I heard you right.
16                    You had said to Mr. Greenberg that we'll have the
17       jurors -- I guess their questionnaires a week in advance. I
18       just want to make sure. Is that correct, it's going to be a
19       week --
20                    THE COURT: I don't think it will be full week, no.
21                    I believe we're starting on the 4th. I think you'll
22       have them the Friday beforehand.
23                    MR. JONAS: That's what I thought, Judge.
24                    THE COURT: Yes.
25                    MR. JONAS: And one last question, Judge.
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 1                    THE COURT: It will be the week -- it will be in the
 2       week before that.
 3                    MR. JONAS: Got it. Are we doing this in your
 4       courtroom, the trial?
 5                    THE COURT: Yes, yes. Thank God.
 6                    One other really minor thing. There is an overflow
 7       courtroom that we will be broadcasting the trial to. I also
 8       have some law students at Northwestern in my trial ad course
 9       who are interested in being able to listen in to the public
10       part of the trial. And we were going to give them the dial-in
11       information if they are so interested.
12                    I assume there's no objection --
13                    MR. GREENBERG: Your Honor, I apologize. I don't
14       mean to keep interrupting you with the phone situation. I
15       sometimes think you're done when you pause, so I apologize if
16       I'm cutting you off.
17                    THE COURT: Go ahead.
18                    MR. GREENBERG: My understanding is that family
19       members will have to watch from the overflow courtroom; is that
20       correct?
21                    THE COURT: That's generally how it's been.
22                    MR. GREENBERG: Okay. I would ask, because
23       Mr. Osadzinski's family is planning on attending the trial, if
24       the Court would explain to the jurors at a minimum that his
25       family is there, but because of COVID they're required to watch
     Case: 1:19-cr-00869 Document #: 211 Filed: 01/12/23 Page 26 of 39 PageID #:3743
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 1       from another room, but ordinarily they would be sitting in the
 2       pews in the courtroom, if the Court is not inclined to allow
 3       them if there's enough room to sit in the courtroom.
 4                    MR. JONAS: Your Honor, we would object to that.
 5       When -- if the family was there, the Court would not point them
 6       out as family members. The jurors can speculate who they are,
 7       but the Court doesn't point them out.
 8                    So for you to say that they're not here and in the
 9       overflow courtroom is something that's not un -- not usual, and
10       I would -- we would object to doing that.
11                    THE COURT: I think --
12                    MR. GREENBERG: Then we would ask that they be in the
13       courtroom, because it's a -- he's entitled to a public trial,
14       and this is one of those very fundamental structural things.
15                    MR. JONAS: We're not objecting to them being in the
16       courtroom if there's space and the COVID protocols allow.
17                    MR. GREENBERG: Okay.
18                    THE COURT: I will look into that.
19                    But, Mr. Greenberg, you could -- you know, the jury
20       will be spread out in probably the first couple of rows. I
21       could ask Claire. Claire has actually sat in a number of these
22       cases with other judges.
23                    Do any of the jurors sit in the jury box?
24                    THE CLERK: Your Honor, there's three jurors in the
25       jury box, and then they spread the other jurors throughout the
     Case: 1:19-cr-00869 Document #: 211 Filed: 01/12/23 Page 27 of 39 PageID #:3744
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 1       pews with six feet of separation.
 2                    So there's one or two in each pew, and they go every
 3       other pew.
 4                    MR. GREENBERG: They --
 5                    THE CLERK: I would have to -- I would have to look
 6       to see -- if we have 15 jurors, I would have to look to see how
 7       much room there would be for public, which would then have to
 8       be spaced, which right now we're being told that no public are
 9       allowed. I could talk to the clerk.
10                    THE COURT: All right. Well, we will look into that.
11       I appreciate what you are saying, but I don't want to have to
12       explain that to your family folks. I think you can explain
13       that to them. And if they have to be in the overflow
14       courtroom, we'll obviously give them priority in the overflow
15       courtroom.
16                    MR. GREENBERG: That's not my question, Judge.
17                    My question or my concern is that if they're not in
18       the courtroom, it gives -- I want the jurors to know that he
19       has people who care about him who are watching the trial.
20                    Now, Mr. Jonas says that ordinarily they're not
21       identified for the jury, and that's correct. But I think that
22       if we have a bunch of jurors, you know, they look and they see
23       what looks like a mom and a dad sitting there day after day,
24       especially in a case like this where there's no victim who is a
25       person. So it's not like a murder case where the victim's
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 1       family is coming to watch.
 2                    The jurors are smart enough to figure out that that's
 3       the defendant's parents that are watching. And if we're
 4       deprived of that -- and there's a reason why people are allowed
 5       to come in and watch. And if we're deprived of that, I think
 6       it's appropriate for something to be said to the jurors, so
 7       that they don't think that everybody has just abandoned this
 8       young man.
 9                    MR. JONAS: Judge, and the opposite -- what if the
10       case was the opposite? What if his parents didn't want to be
11       there because they didn't want to support him? Would the Court
12       point that as well?
13                    I can't -- we strongly object to Mr. Greenberg's
14       request. It's putting an imprimatur on the family support that
15       shouldn't be there, Judge.
16                    THE COURT: Mr. Jonas, you can stop right there.
17                    You're asking me, in a sense, to make an argument for
18       you, Mr. Greenberg, that I'm not going to do. What we can do,
19       of course, and what we will do is tell the jurors that you are
20       being spread out in the courtroom because of the COVID
21       protocols, and that's why you are being spaced out the way you
22       are. And there's really no room in the courtroom for anybody
23       else, so they will know that they're the only people in the
24       courtroom. And --
25                    MR. GREENBERG: Will you --
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 1                    THE COURT: And I'm not in a position to say, oh, by
 2       the way, his parents are the overflow courtroom. I don't think
 3       that would be appropriate for me to say.
 4                    MR. GREENBERG: Well, will you add to that that
 5       because of the COVID protocols and the fact that the jurors are
 6       spread out, no one from the public, including family, is
 7       allowed in the courtroom to watch the proceedings; and if they
 8       want to watch it, they need to watch it from a different
 9       courtroom that's been set up?
10                    THE COURT: It's the "including family" that
11       Mr. Jonas has a problem with.
12                    MR. JONAS: That's correct.
13                    MR. GREENBERG: Okay. Forget the "including family."
14                    MR. JONAS: If you want to say everything that
15       Mr. Greenberg said without the family part, just about the
16       public in general, we have no objection to that.
17                    THE COURT: Okay. Mr. Greenberg, remind me about
18       that when we start the trial. Okay?
19                    MR. GREENBERG: Okay.
20                    THE COURT: All right. I think we've come to an
21       agreement.
22                    All right. See you guys on the -- next Monday at
23       1:30.
24                    MR. GREENBERG: Thank you, Judge. Have a nice
25       weekend.
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 1                    MR. JONAS: Judge, just -- Judge, Your Honor, just a
 2       couple of quick questions or points I just want to touch upon.
 3                    Staying with the COVID protocols, I just want to make
 4       sure everyone needs to be masked except for the witness when
 5       the witness is testifying. I'm assuming that's the case?
 6                    THE COURT: Well, the last trial I did, I did a bench
 7       trial in May and June. And we were -- I told the lawyers they
 8       had the -- they could -- they were all vaccinated, and I assume
 9       that everybody here will be vaccinated. But the jurors are
10       going to be asked to do that.
11                    So I think it would probably be courteous, at
12       least -- you know, even though I'm not sure we need to mask,
13       but I think that it would be best for everybody to remain
14       masked.
15                    MR. JONAS: And that's fine with the government, Your
16       Honor.
17                    My second question is: Will we be able to question
18       witnesses from the lectern like we normally do, or will we have
19       to stay seated? And, again, I know things change. I'm just
20       thinking back to the first COVID trial.
21                    THE COURT: I would prefer the lectern.
22                    MR. JONAS: Okay.
23                    THE COURT: I think it's a lot -- even if you're
24       masked, it's a lot easier to conduct an examination from the
25       lectern than it is from your chair at the table.
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 1                    MR. JONAS: Agreed, Your Honor.
 2                    When we are questioning the witnesses from the
 3       lectern, should we continue to wear our mask at that point, or
 4       are we able to take it off so that we can be heard clearly?
 5                    THE COURT: I would prefer you could take the mask
 6       off when you're asking the questions. You're going to have to
 7       change -- you know, you have to change that little -- I don't
 8       know what you call it.
 9                    MR. JONAS: I have a name for it, Judge. I won't say
10       it on the record.
11                    THE COURT: I know. I've got the same name. Let's
12       call it a sock on the microphone every time we do that, but --
13                    MR. JONAS: That's fine.
14                    THE COURT: Claire is texting me. She said it's
15       called a microphone cover. I like the word "sock." We'll call
16       it a microphone --
17                    MR. GREENBERG: I like Mr. Jonas's word that he won't
18       say.
19                    MR. JONAS: Two other questions, Your Honor.
20                    And just it's more -- not so much questions, just to
21       inform the Court. And we noticed the defense this morning.
22       It's not really substantive. But in going through some of the
23       CHS recordings that are reflected in the complaint, we noticed
24       some things weren't -- we had to clarify a few things.
25                    There was one spot where we have a quotation mark
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 1       that was in the wrong place. There's another spot where there
 2       were three words in the middle of a quote that was incorrect,
 3       and it didn't change the substance of the quote.
 4                    So we did let defense know. I'm not sure if they
 5       want to raise it as an issue at some point, but we just wanted
 6       to let Your Honor know that we informed them that we've cleaned
 7       some things up behind the scenes with them.
 8                    THE COURT: Is this anything I've seen?
 9                    MR. JONAS: I don't know. It's in the complaint,
10       just a few paragraphs in the complaint that we addressed.
11                    THE COURT: Well, the complaint is superseded by the
12       indictment. So I don't know why we would have to deal with it.
13                    MR. JONAS: No. I understand. I raise it only
14       because, Your Honor, I think, like, the bill of particular
15       issue referenced back to the complaint. I think there may have
16       been one item that we reference in our motion to dismiss.
17                    Again, nothing changes the substance of what was
18       said. It was just clarifying things a little more
19       particularly.
20                    I think Mr. Herman had something to say.
21                    MR. HERMAN: Yeah. I mean, it may be relevant if the
22       affiant testifies, but we've got to analyze the exact changes
23       to see if there's anything else --
24                    THE COURT: Okay. Why don't you two have a
25       discussion about that? And this should not be a point of
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 1       contention.
 2                    MR. HERMAN: Yeah. Your Honor, back to the masking,
 3       I don't want our silence on the defense side right now to be
 4       seen as acquiescence.
 5                    We had, in some respects, anticipated not being
 6       masked for the proceeding, given that we're all vaccinated, and
 7       there will be other measures taking place in -- and tested
 8       every day or tested consistent with the program in the
 9       courtroom.
10                    I think particularly for Mr. Osadzinski, having him
11       masked -- having a masked defendant in a case like this raises
12       particular concerns. It somewhat dovetails with the 403
13       issues. I think there will be images that the government will
14       seek to introduce of men in military fatigues wearing masks,
15       and it raises some concerns on our side, especially given the
16       health protocols that will be in place.
17                    MR. JONAS: Your Honor, the government takes no
18       position on that. We'll defer to the Court.
19                    MR. HERMAN: It would be our strong opinion to -- or
20       position that we not be masked -- that counsel and defendant
21       not be masked.
22                    THE COURT: Well, I understand your point with regard
23       to Mr. Osadzinski. If the government and its crew -- there's
24       going to be three of you at the table with an agent; is that
25       right?
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 1                    MR. JONAS: There will be three of us at the table.
 2       I'm not sure if there will be space for an agent. I am
 3       assuming the three of us will have to be separated a little
 4       bit, so I'm not sure if there will be enough room for the
 5       agent.
 6                    THE COURT: Well, I consider co-counsel to be in the
 7       bubble. So I'm not going to make you -- I'm not going to make
 8       Mr. Greenberg and his co-counsel -- are you going to have
 9       anybody else at the table besides the defendant --
10                    MR. HERMAN: We may have a paralegal.
11                    THE COURT: -- Mr. Herman? I mean, I consider you
12       bubbled. So, you know, for you to be separated by three feet
13       or six feet is really counter-productive. So you're not going
14       to have any trouble with me at all on that one.
15                    I'm going to leave it up to you whether you want to
16       be masked or not. I'm going to leave it up to counsel. And if
17       you want the defendant to be unmasked, I appreciate what you're
18       saying.
19                    MR. JONAS: Judge, the government may wear a mask --
20                    MR. GREENBERG: Judge, can we have Mr. --
21                    MR. JONAS: I was going to say, the government --
22                    MR. GREENBERG: Can we have Mr. Osadzinski --
23                    THE COURT REPORTER: I'm sorry. One at a time,
24       please.
25                    MR. GREENBERG: I'm sorry.
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 1                    THE COURT: Let Mr. Jonas talk.
 2                    MR. JONAS: I was just going to say, Judge, the
 3       government may wear masks just to let the jury know that we
 4       care about their health.
 5                    MR. GREENBERG: And I was going to ask if
 6       Mr. Osadzinski's parents can sit in our bubble.
 7                    THE COURT: All right. We've been through that
 8       already.
 9                    MR. JONAS: Judge, the other question --
10                    THE COURT: None of this -- by the way, none of this
11       is anything that I want or that you want or that anybody should
12       want. It's just the way the world is today.
13                    I never thought that we would be in this position
14       this far along in the world, but it's the position we're in,
15       unfortunately.
16                    MR. JONAS: Judge, there's two other further
17       questions.
18                    We have several witnesses coming in from out of town,
19       and we saw the email from Claire regarding witnesses needing to
20       be tested if they're going to be in the court for more than two
21       days.
22                    Some of the witnesses may not be in the city -- the
23       first day they may be in the city may be the day they testify.
24       So I guess we're just looking for clarification on how far in
25       advance they need to be tested, because we can have them tested
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 1       where they're at prior to them getting on a plane, if that
 2       works.
 3                    THE COURT: Well, I was just going to suggest that,
 4       that they can be -- they should be tested wherever they're at
 5       and bring whatever confirmation of negative results when they
 6       come into the courthouse.
 7                    MR. JONAS: Okay.
 8                    THE COURT: That should be fine. I mean, otherwise
 9       it would be impossible to do.
10                    MR. JONAS: And we'll let them know that.
11                    And then the last thing, Judge, I just want to
12       confirm that we're not having trial on Friday, October 8th? Is
13       that correct?
14                    THE COURT: No, I think we are.
15                    MR. JONAS: We are? Okay.
16                    THE COURT: Wait, wait. Hold on. Hold on. Let me
17       just look here. I'm sorry. I'm mixing this up with another
18       case. Ordinarily -- hold on one second.
19                    Okay. Right, you're correct. We are going to have
20       trial on the 15th because of the Columbus Day holiday or the
21       Indigenous Peoples' Day holiday, is what it's called.
22                    MR. JONAS: We have -- we -- in plotting out when we
23       think our witnesses will testify, we're going to have -- we
24       expect that there's a chance one of our out-of-town witnesses
25       would start the afternoon of the Thursday -- the Thursday, the
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 1       7th.
 2                    And what we would request -- instead of having that
 3       person come in, sit around for a few hours, fly back to where
 4       they are for a four-day weekend and then come back, we would
 5       request if that Thursday afternoon we're ready for them, that
 6       we just stop at that point and then pick up again Tuesday
 7       morning so they're not flying back and forth unnecessarily, if
 8       that's okay. Otherwise, we would request trial on Friday so
 9       that we can get their testimony in.
10                    THE COURT: Well, that would be fine with me. You
11       know, try to -- try to arrange your witnesses as efficiently as
12       possible. I really can't micromanage that too much for you if
13       we have to break a little early.
14                    I also should tell you that we do break early on
15       Tuesdays. We break around 3:30, 3:40 on Tuesdays.
16                    MR. JONAS: Okay. Thank you, Judge.
17                    And that's all that I think the government had
18       unless, Ms. Wells or Ms. Hughes, you have anything you want to
19       add or ask?
20                    MS. WELLS: No, thank you, Your Honor.
21                    THE COURT: Okay. Is Ms. Ardam on the case anymore?
22                    MR. JONAS: No. She has a trial that started a few
23       days -- a few days ago, and between that trial, she couldn't do
24       both.
25                    THE COURT: Okay. I just want to take her off the
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 1       list.
 2                    Okay. See you guys on Monday then. Have a good
 3       weekend.
 4                    MR. JONAS: Thank you, Judge. You, too.
 5                    THE COURT: All right.
 6                    MS. WELLS: Thank you, Judge.
 7                    THE COURT: I'm going to ask everybody to get off
 8       except for my staff, please.
 9             (Proceedings concluded.)
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 1                                  C E R T I F I C A T E
 2
 3
 4                    I, Nancy L. Bistany, certify that the foregoing is a
 5       complete, true, and accurate transcript from the record of
 6       proceedings on September 17, 2021, before the HON. ROBERT W.
 7       GETTLEMAN in the above-entitled matter.
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10       /s/ Nancy L. Bistany, CSR, RPR, FCRR                     January 11, 2023
11             Official Court Reporter                            Date
               United States District Court
12             Northern District of Illinois
               Eastern Division
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